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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                   8:08CR89
                              )
          v.                  )
                              )
REMIGO PINTO, JR.,            )                       ORDER
PEDRO SANCHEZ-ZAVALA,         )
a/k/a El Primo,               )
LUIS ZALAS-VEGO, and          )
HUGO RAMIREZ,                 )
                              )
                Defendants.   )
______________________________)


           This matter is before the Court on plaintiff's motion

for leave to dismiss, without prejudice, the indictment as it

relates to Pedro Sanchez-Zavala, a/k/a El Primo, only (Filing No.

35).   The Court notes defendant has filed a response (Filing No.

36) noting he has no objection.        Accordingly,

           IT IS ORDERED that plaintiff’s motion is granted.                The

indictment is dismissed without prejudice as it relates to Pedro

Sanchez-Zavala, a/k/a El Primo, only.

           DATED this 21st day of March, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
